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                                                                                           FILED
                                                                                        MAY 25 2022
                                                                                       U. S. DISTRICT COURT
                         IN THE UNITED STATES DISTRICT COURT                         EASTERN DISTRICT OF MO
                                                                                              ST. LOUIS
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
            Plaintiff,                            )
                                                  )
v.                                                )
                                                  )
                                                       4:22CR298 SRC/SPM
ANTHONY "TONY" WEAVER, SR. ,                      )
                                                  )
            Defendant.                            )

                                         INDICTMENT

            THE GRAND JURY CHARGES:

                                    COUNTS ONE-FOUR
                                      WIRE FRAUD

A.   INTRODUCTION

       At all times relevant to the Indictment:

       1.        The defendant, ANTHONY "TONY" WEAVER, SR. (hereinafter referred to as

"WEAVER"), was the Administrative Assistant to "Jane Doe," a St. Louis County

Councilwoman, and, beginning during January, 2020, served as the appointed Change

Management Coordinator at the St. Louis County Justice Center.       WEAVER also served as the

longtime Committeeman of the Spanish Lake Township of St. Louis County, and served on the

board of Unity PAC, a north St. Louis County political organization.

       2.        During May, 2020, St. Louis County, Missouri introduced the St. Louis County

Small Business Relief Program (hereinafter referred to as "SBR") to award grants totaling $17.5

million to small businesses.   The SBR grants were funded through the federal relief funds St.

Louis County received from the CARES Act.         The SBR grants were intended to provide relief to

small businesses in St. Louis County that were closed during the Stay at Home Orders.         Grant

funds could be used to pay for the costs of business interruption as a result of business closing
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during this time and to cover costs associated with reopening safely, including funding

improvements for businesses to comply with social distancing guidelines.       Initially, the SBR

Program was to award a maximum total of $2.5 million in grants per County Council District to

businesses that needed financial relief the most, based upon recommendations received from the

Council member of each District.    Each qualifying business was eligible to receive up to $15,000

in SBR grant funds.    Small business applications and Council member recommendations were

originally due to be submitted to St. Louis County by June 1, 2020.

       3.      An individual whose identity is known to the Grand Jury (hereinafter referred to as

"John Smith"), was the owner and operator of several small businesses located in St. Louis County,

including a gasoline station, a convenience mart, a supermarket, a laundromat, and an automobile

mechanic shop.

B.     SCHEME TO DEFRAUD

       4.      Beginning in or about May, 2020, and continuing through in or about December,

2020, in the Eastern District of Missouri and elsewhere, defendant,

                            ANTHONY "TONY" WEAVER, SR.,

along with others known and unknown to the Grand Jury, devised, intended to devise, and

knowingly participated in a scheme to defraud and obtain money from St. Louis County, Missouri

through the St. Louis County Small Business Relief Program by means of materially false and

fraudulent pretenses, representations, and promises.

       5.      It was a part of the scheme that, on or about May 6, 2020, WEAVER met with

John Smith and advised John Smith about the SBR grant program.          WEA VER advised John

Smith that WEA VER and Jane Doe, the Council member in the District where WEA VER

believed John Smith's businesses were located, needed to know the names of each of John Smith's




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businesses in order to ensure that those SBR applications would be approved and funded by St.

Louis County.

       WEA VER: "But she need to know, and I need to know who those names are
       when they come up for approval then we can say yes, yes, yes."



       WEAVER: "It's a committee of people, along with myself. .. a team of people
       make a decision together. .. but it doesn ' t matter, [Jane Doe] makes the final
       decision on what happens . .. .I just have to know the names of the different
       companies so when it comes up I tell [Jane Doe] .... "

WEAVER and John Smith discussed how many businesses John Smith owned, and how much

each would receive in SBR grant funds.

       WEA VER: "$15,000 each business. That' s a lot of money when you have four
       different businesses in one District. You ' re up to 65 , $70,000 ."

       John Smith: "There's the mechanic shop, the laundromat, supermarket, gas
       station, construction company, and Shepley. That's six. Six businesses."

       WEAVER: "You get $90,000, sir. .. .That's $90,000.          That' s money, sir. ... as
       long as they put in different names."

WEAVER told John Smith that he would type up the applications for John Smith's businesses,

and advised John Smith that even though he was no longer the Administrative Assistant to Jane

Doe, he could make sure· the SBR applications were approved.

       WEAVER: "I' 11 just bring my laptop down here and we can submit them all at
       one time .. . .It goes through [Jane Doe' s] office. They can 't really function that
       well without me, ok? Trust me. I got it. They ' re going to do what I tell them
       to do."

       6.       It was a further part of the scheme that on May 7, 2020, WEA VER met with John

Smith and completed and submitted an SBR grant application for one of John Smith's businesses,

a laundromat.    In completing the SBR grant application, WEAVER made false representations

that the laundromat had been closed for a period of time and the business had to lay off employees




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as a result of the Covid-19 pandemic when, in fact, the laundromat had not closed at all and no

employees were laid off.

       WEA VER: "Did you have any business interruption during the Corona for the
       laundromat? "

       John Smith:     "I don't think so."

       WEAVER: "Well, you couldn't pay your light bill, your gas bill, heating
       bill ... Did it have any impact to your knowledge during Corona since it started in
       January?"

       John Smith:     "No, we were really busy."

       WEAVER:        "You don't want to say that."

       John Smith:    "Ok."

       WEA VER: "You want to let them think you was closed, you had to lay off one
       of your employees .... "

WEAVER and John Smith discussed that they would.split any SBR grant funds which John

Smith's businesses received.

       John Smith: "When the money comes in ... we split it.. .. You tell me how we' re
       gonna split it. Ok?"

       WEA VER        "There's so much damn money around St. Louis County, it's crazy."

       John Smith:    "We need to get some of that .... "

       WEA VER: "Uh huh.            Everything they've got over there we need to get some
       of.. .that's my attitude."

After WEAVER completed and submitted the false SBR grant application for John Smith's

laundromat, WEAVER agreed to meet with John Smith at a later date in order to complete and

submit SBR grant applications for more of John Smith's businesses.

       7.      It was a further part of the scheme that on May 10, 2020,             WEA VER

met   again with John Smith and completed and submitted a false SBR grant application

for another of John Smith 's businesses , a supermarket.               In completing the SBR

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grant application, WEA VER made false representations that the supermarket had been closed for

a period of time and the business had to lay off employees as a resu lt of the Covid-19 pandemic

when, in fact, the supermarket had not closed at all, and had not laid off any employees.

       WEAVER:        "Did you have to lay anybody off?"

       John Smith:    "No."

       WEAVER: "You cut anybody's hours?"

       John Smith: "No."

       WEAVER:        "Yes."

       John Smith: "Okay."

       WEA VER:       " ... was closed for business during the stay at home order, 'yes."'

       John Smith: "We were open."

       WEA VER: "I know, but you were closed at some point in time."

WEAVER also discussed the need to use different emai l addresses for each of the SBR grant

applications in order to conceal the true ownership by John Smith.

       WEAVER: "Just make sure - I think we need to have different email addresses
       (on the applications)."

       John Smith:    "Ok, I got you ... why?"

       WEAVER: "Because they ' re gonna lead back to ... ownership ... but you only
       have one emai l address on it."

WEAVER and John Smith also discussed the fact that they would split any SBR grant funds

obtained through submission of the applications.

       John Sm ith: "That's my money and your money."

       WEA VER:       "Right."

       8.      It was a further part of the scheme that on May 14, 2020, WEAVER met again

with John Smith and completed fa lse SBR grant applications for two more of John Smith' s


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businesses, a convenience store, and the supermarket which WEA VER had already made an

application for, but listed at a different address on this additional application.             During

this meeting, WEA VER told John Smith he needed to use a different email account on the

applications because the County would be reviewing the documents and WEAVER did not

want to connect John Smith to more than one company, which would disqualify John Smith

since an owner could only apply for one small business grant.          In completing the SBR grant

applications, WEAVER made fa lse representations that these two businesses had been closed

for a period of time and the businesses had to lay off employees as a result of the Covid-19

pandemic when, in fact, neither the convenience store nor the supermarket had been closed at all,

and neither business had laid off any employees.

       WEA VER:      "So you were not closed .... "

       John Smith:   "Not even a second."

       WEA VER:      "Can you say you were closed a couple days?"

       John Smith:   "If that's what you need to do.       Make it look stronger, go ahead."

WEAVER advised John Smith that in the SBR application John Smith could not be shown as

owning 25% or more of any two businesses which had submitted an SBR grant application, and

WEAVER discussed the need to falsely conceal John Smith' s ownership in the multiple

businesses they were submitting SBR grant applications for.

       WEA VER:      "Do you own 25% or more in [the supermarket]?"

       John Smith:   "I do .    I do.   25%.   I own more .... "

       WEA VER:       "Does it show anywhere in paperwork that you've got 25%
       ownership?"

       John Smith:   "No."

       WEAVER:       "Ok.      So we'll say you don 't."



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After WEAVER completed all of the information for the application, including the "planned use"

for the SBR money, WEAVER read aloud questions to John Smith, warnings contained within

the application prior to final signature and submission.      One of those attestations involved any

potential conflict of interest to be sure the applicant did not have a conflict of interest with any St.

Louis County employee.

        WEA VER: "Conflict of interest. .. as elected official, you know a relative of
        somebody in there, yeah, me, but we didn't tell them that" (answered "NO" on
        application).

During this meeting, WEAVER discussed completing and submitting an application for John

Smith' s convenience store.    WEAVER did not want to use his own cellular telephone to submit

the new application to St. Louis County for fear that St. Louis County officials would see that the

application had been submitted from WEAVER's telephone.

      WEAVER:        "I don 't want to do it from my phone."

      John Smith:    "Why?"

       WEAVER:         "Because I work for St. Loui s County."

       John Smith     "That's a county phone?"

       WEA VER:        "No.    It' s my personal phone."

       John Smith:     "They look into it?"

       WEA VER:        "I don 't know what they could do.     I don' t trust St. Louis County."

       John Smith:     "Really?"

        WEA VER: "Yes. They ' re trying to get me on something, brother.               I'm too
        powerful, brother .. .. "



      WEA VER: "I don ' t want to do it from my phone because St. Louis County may
      be able to see its coming from Tony Weaver' s phone. You can do it from your
      phone. I sent you a link."



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WEA VER then proceeded to complete the fa lse SBR grant application for the convenience store.

During this meeting, WEA VER and John Smith again discussed the fact that they wou ld split any

grant funds received from the numerous false SBR grant applications.

       John Smith :   "That's four or five businesses, man."

       WEAVER:        "I know"

       John Smith:    "Times fifteen."

       WEA VER:       "Right."

       John Smith:    "We splitting."

       WEAVER: "I like that."

       John Smith: "We splitting the money."

       WEAVER: "Right."

WEA VER submitted both of these fa lse SBR grant applications the next day, on May 15 , 2020.

       9.     As a further part of the scheme, on May 21, 2020, WEAVER and John Smith

discussed the SBR grant applications WEA VER had submitted for John Smith.     WEAVER told

John Doe that the County review of applications would begin Tuesday, May 27, 2020.

       WEAVER: "They' re just gonna be evaluating all the contracts and seeing who's
       eligible, who's not eligible."


       John Smith:    "How many applications did we submit?"

       WEA VER:       "Four."

WEAVER and John Smith further discussed how to split the proceeds from any SBR grant funds

received.

       WEA VER:       "You know you can't g ive me no check."



       WEAVER: "I don 't want you to do that (make a campaign contribution in John
       Smith 's or John Smith's companies' names) because then that sheds the light on
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       you g1vmg to [Jane Doe] or Tony .... Because we ' ve got to turn it into the
       government."

Later in the same meeting, John Smith told WEA VER again the stores were not closed, despite

reporting them closed for the SBR appl ication .        John Smith discussed what he would say if

someone asked him about the application, and then told WEA VER he would give [Jane Doe]

money for her support.

       WEAVER: "I hope this place is not bugged ... that's how (former St. Louis County
       Executive Steve) Stenger got caught."

       10.     As a further part of the scheme, on May 29, 2020 WEA VER and John Smith met

and discussed the SBR grant applications.      WEA VER acknowledged that in addition to John

Smith, he had helped ten other individuals app ly for SBR grant funds .

       John Sm ith:   "How many people applied for [Jane Doe's] money?"

       WEAVER:        "About 150 people."

       John Smith:    "How many people did you help out?"

       WEAVER: "Ten." (WEAVER then identified the other ten companies) But
       see, they don ' t believe in giving me money. Only two of them believe in, like,
       'OK, take care ofme, Tony, and I' ll get you.' The other people just want to like
       get stuff for free. ' Oh, Tony, thanks, really appreciate it.' And when they get in
       trouble they want to call me; ' hey man, I ain 't got time, I'm busy."'

       John Smith:    "Were you up front with them?"

       WEAVER: "Oh, yeah. I told them.                If we' re going to do this, I said, you ' re
       going to have to pay me to do this."

       John Smith:    " [C.K.] , how much did he give you?"

       WEAVER:        "He told me, 'give me a number.'"

       John Smith:    "Did you give him a number?"

       WEAVER:        "No ... when the money comes in I'll give him a number."

       John Smith:    "What's the number?"

       WEAVER:        I don ' t know, I haven't thought about it yet."
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       John Smith:     "None of them is better than me, Tony."

       WEA VER: "No, not at all , I already know brother. You top of the chain.
       When you call me to do something, I'm there man because I already know, man.
       Those other people want stuff for free all the time."

       John Smith:     "We ' re a team, my brother."

       WEAVER:         "Absolutely."

       11.      As a further part of the scheme, WEA VER and John Smith met on June 29, 2020

and discussed the SBR grant app lications.     WEA VER advised John Smith that, unbeknownst to

him, three of John Smith's businesses which they submitted SBR grant applications for are not in

Jane Doe's District.   WEAVER advised John Smith that he can "work with" the other Council

Member' s Administrative Assistant to make sure John Smith ' s SBR grant applications are

accepted and funded.     Once again, WEA VER and John Smith discussed that they will split any

SBR grant funds John Smith receives.

       John Smith:     " Whenever the money comes in, we ' re going to split."

       WEAVER:         " I know."

       John Smith:     "Right, my brother?"

       WEAVER:         "Right, exactly."

Further, on July 23 , 2020, WEA VER and John Smith discussed the SBR grant applications.          The

two discussed again the fact that the applications they had submitted were false in that John Smith ' s

businesses had not closed due to Covid-19.

       WEAVER: "How much did it cost to open your doors? But you didn ' t close."

       12.      As a further part of the scheme, WEA VER and John Smith met on December 15 ,

2020 and discussed the SBR grant applications .     WEA VER advised John Smith that all the SBR

grant funds had been paid out.

       WEAVER:         "All the stimulus check money ' s gone, they don ' t have any more to
       generate."
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       John Smith:    "Your guy [C.K.], did he give you anything?"

       WEA VER:       "$300."

       John Smith:    "That's ridiculous."

       WEA VER: "It is. All the work, all the phone calls.        All the extra work I had
       to do to really help him."

Further, on December 19, 2020, WEA VER again advised John Smith that there were no more

SBR grant funds available.

       WEAVER: "[Erica] says, Cares Act money is gone.            They've got some more
       money coming in January ... We can be on top of that."



       WEAVER: "We have to wait until January because another pot of money' s coming
       in January. And that might be $20,000 a piece. So that's what's going on, man."

       John Smith:    "So, what are we gonna do now?"

       WEAVER: "Wait until some more money comes in. Only person I know got
       paid, that' s [C.K.], he gave me $300, maybe 4 . . . So, we're gonna have to wait and
       see what'else is out there."

Ultimately, despite submitting the false SBR applications to St. Louis County, none of John

Doe ' s businesses received SBR funds.

C. THE WIRES

       13.     On or about the dates listed below, within the Eastern District of Missouri and

elsewhere, for the purpose of executing the above-described scheme to defraud and to obtain

money and property by means of false and fraudulent pretenses and representations, and m

attempting to do so, the defendant did knowingly cause to be transmitted by means of wire




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communication in and affecting interstate commerce, certain writings, signs, and signals, via the

internet, including false SBR grant applications subm itted to St. Lo uis County as detailed below:

  COUNT           DATE                AMOUNT              RECIPIENT OF APPLICATION
    1           May 7, 2020           $15 ,000.00            St. Lou is County, Missouri
    2           May 10, 2020          $15 ,000.00            St. Lo uis County, Missouri
    3           May 15, 2020          $15,000.00             St. Lo uis County, Missouri
    4           May 15 , 2020         $15,000.00             St. Louis County, Missouri

       All in violation of Title 18, United States Code, Sections 2, 1343, and 1349.



                                                     A TRUE BILL.




                                                     FOREPERSON
SAYLER A. FLEMING
United States Attorney



HAL GOLDSMITH, #32984(MO)
Assistant United States Attorney




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